       4:11-cv-01505-TLW          Date Filed 06/20/11       Entry Number 1        Page 1 of 9




                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION


BARBARA JOHNSON,                       )               Civil Action No.:
                                       )
                   Plaintiff,          )
                                       )                       COMPLAINT
vs.                                    )                   Violation of the ADA
                                       )                   Violation of the FMLA
SMITHFIELD PACKING COMPANY,            )
INCORPORATED,                          )
                                       )                 JURY TRIAL DEMANDED
                   Defendant.          )
_______________________________________)

                The plaintiff above named, complaining of the acts of the defendant, states as

follows:

                                 PARTIES AND JURISDICTION

               1)   That plaintiff is a resident and citizen of the County of Dillon, State of South

Carolina.

               2)   That, upon information and belief, the defendant Smithfield Packing

Company, Incorporated (“Smithfield” or “defendant") is a foreign corporation doing business

and otherwise maintaining offices and agents in the County of Bladen, State of North Carolina.

               3)   That this court has federal question jurisdiction pursuant to 42 U.S.C.

§12101, et. seq. (American with Disabilities Act or “ADA”), 29 U.S.C. § 2601, et. seq. (Family

Medical Leave Act or “FMLA”), and 28 U.S.C. §1331.

               4)   That venue for all causes of action stated herein lies in the district of South

Carolina, Florence Division, in that pursuant to 28 U.S.C. § 1391(b), the parties reside in this

district, and a substantial part of the events giving rise to plaintiff's claims occurred here.




                                                  1
         4:11-cv-01505-TLW         Date Filed 06/20/11      Entry Number 1       Page 2 of 9




                                    CONDITIONS PRECEDENT

                 5)   That plaintiff has exhausted all administrative remedies and conditions

precedent, including timeliness, deferral and all other jurisdictional requirements necessary for

the maintenance of the foregoing action, all of which are more fully described below.

                 6)   That at all relevant times defendant employed fifteen (15) or more

employees and, as such, is an “employer” as defined by the ADA and is otherwise subject to the

ADA.

                 7)   That on or about September 10, 2009, and as a result of defendant's

discriminatory conduct, all of which is more fully described below, plaintiff filed a complaint

with the Equal Employment Opportunity Commission ("EEOC") alleging discrimination based

upon disability and/or perceived disability under the ADA.

                 8)   That on or about April 1, 2011, plaintiff received a notice of right to sue from

the EEOC regarding the complaint described in Paragraph 7 above.

                 9)   That plaintiff has timely filed the foregoing action within ninety (90) days of

the date on which she received the notice of right to sue described above in Paragraph 8.

                                               FACTS

                 10) That plaintiff hereby repeats and realleges each and every allegation

contained in Paragraphs 1 through 9 hereinabove as fully as if set forth verbatim.

                 11) That on or about May 27, 2008 plaintiff was hired as a production worker by

the defendant.

                 12) That in said position plaintiff’s job involved inspecting meat on a conveyor

belt. First plaintiff performed her inspections from a platform, then later she did it from the

floor.




                                                   2
        4:11-cv-01505-TLW          Date Filed 06/20/11   Entry Number 1        Page 3 of 9




                13) That plaintiff performed her job duties at defendant in an above-satisfactory

fashion and otherwise maintained an excellent employment record there.             In this regard,

plaintiff received at least two (2) favorable performance evaluations; she received raises; she

was never disciplined; and, her supervisors told her she did a good job.

                14) That plaintiff is an insulin-dependent diabetic. Plaintiff attempts to control

her condition through shots and pills.

                15) That in or around November or December of 2008, plaintiff began to become

ill at work as a result of her diabetes. Apparently, despite the use of her medication, plaintiff’s

insulin levels became high which, in turn, caused plaintiff to become weak and “shaky” and to

experience blurred vision while working. A couple times, plaintiff actually fell on the floor at

work.

                16) That when plaintiff became ill, she had to get a shot and then wait around 1

to 2 hours for her levels to fall into place.

                17) That when plaintiff first started to become ill at work, defendant would send

plaintiff home and not allow her to return to work unless she presented a doctor’s note which

affirmed she was well enough to work. This resulted in plaintiff missing more work than was

necessary, as she only needed to take a break before she could return to doing her job. Plaintiff

did not have to go home for a day or two, or however long it took her to obtain a doctor’s note.

                18) That after plaintiff objected to repeatedly being sent home, defendant agreed

to stop sending plaintiff home each time she experienced a diabetic-related illness at work.

                19) That on or about February 26, 2009, plaintiff’s physicians changed her

medications in an attempt to treat the diabetic-related symptoms she was experiencing at work.

                20) That at first the new medications worked well. However, soon the new

medications were causing plaintiff’s insulin levels to drop too low which, in turn, would cause

                                                3
        4:11-cv-01505-TLW         Date Filed 06/20/11      Entry Number 1       Page 4 of 9




her to become sick at work – i.e., become shaky, weak, experience blurred vision, etc. This

occurred probably 3 or 4 times.

                21) That each time this happened, plaintiff would either be carried to the

company clinic or taken there by wheelchair. At the clinic, plaintiff would get something to eat,

wait, and then return to work.

                22) That on or about April 15 or 16, 2009, plaintiff again got sick at work. On

that occasion, one of plaintiff’s supervisors, Brian Brewer (“Brewer”), carried her to the clinic.

                23) That at the clinic, plaintiff was laid out on the examination table. Plaintiff

was shaking and throwing up and otherwise experiencing the symptoms of her diabetes.

                24) That plaintiff was sent home that day and told not to return until she could

provide a doctor’s excuse. Of course, plaintiff visited her physician and was given a doctor’s

note advising she could return to work on or about April 21, 2009.

                25) That on or about April 21, 2009, plaintiff returned to work. However, on

that day plaintiff became sick in the locker room and plaintiff was again taken to the clinic and

then sent home. This time, plaintiff obtained a doctor’s note stating she could return to work

May 12, 2009.

                26) That while plaintiff was out, she called into work every day.

                27) That also while plaintiff was out, plaintiff was seen by a specialist who made

the necessary changes to plaintiff’s medication.

                28) That by on or about May 11 or 12, 2009, plaintiff was fully able to return to

work.

                29) That since that time the symptoms of plaintiff’s condition have been duly

controlled.




                                                   4
       4:11-cv-01505-TLW         Date Filed 06/20/11       Entry Number 1       Page 5 of 9




               30) That when plaintiff reported back to work on or about May 11, 2009,

plaintiff’s badge did not work. When plaintiff inquired as to why her badge did not work, a

clerk advised plaintiff that she had been fired. Plaintiff then asked to speak to a human

resource representative.

               31) That shortly thereafter, plaintiff spoke to Tatiana Aguoya (“Aguoya”).

Aguoya advised plaintiff that plaintiff was fired for being out of work too long. In the course of

the conversation, Aguoya asked plaintiff “If you are sick for a year, what are we supposed to do

– hold your job for you for a year?”

               32) That at the same time, defendant has a point system for attendance that

states if an employee accumulates 12 points, they are subject to termination. Plaintiff only had

6.5 or 7 points under the policy, and at least half of those points were related to her diabetes.

               33) That plaintiff then went to the plant manager, Tammy Russ (“Russ”). Russ

did not understand why plaintiff was being terminated.           Russ and plaintiff went back to

Aguoya.    Aguoya stated that her decision was final, but that she would check with her

supervisor and get back to plaintiff. However, no one ever got back to plaintiff.

               34) That later plaintiff was advised that she had been terminated for not calling

in one day when plaintiff was out sick. Of course, that allegation is false.

                               FOR A FIRST CAUSE OF ACTION:
                                  VIOLATION OF THE ADA

               35) That plaintiff hereby repeats and realleges each and every allegation

contained in Paragraphs 1 through 34 hereinabove as fully as if set forth verbatim.

               36) That as alleged above, at all pertinent times defendant employed over fifteen

(15) employees and, thus, is an “employer” as defined by the ADA and otherwise subject to that

Act.



                                                  5
       4:11-cv-01505-TLW         Date Filed 06/20/11      Entry Number 1         Page 6 of 9




               37) That as a result of plaintiff’s diabetes, the plaintiff is disabled and/or has

been perceived as disabled by the defendant as defined by the ADA.

               38) That plaintiff is limited in one or more major life activity, namely the ability

to walk, stand, see, lift, bend stoop, speak, breathe, eat, concentrate, think and work.

               39) That despite the above, plaintiff could perform the essential functions of her

job, with or without reasonable accommodations, and, at the time of her discharge, plaintiff was

performing her job in a manner that met defendant’s reasonable expectations.

               40) That despite the above, defendant fired plaintiff because plaintiff is disabled

and/or because defendant perceived plaintiff to be disabled.

               41) That defendant violated the ADA by refusing to accommodate plaintiff by

giving her brief leave and limited break time at work and by firing her all because plaintiff is

disabled and/or because she was perceived as being disabled by defendant.

               42) That as a result of defendant’s actions as set forth above, plaintiff has been

damaged in the form of lost back and future wages, income and benefits, expenses associated

with finding other work, severe psychological harm, emotional distress, pain and suffering, loss

of enjoyment of life, anxiety, depression, inconvenience, mental anguish, embarrassment,

humiliation, loss of professional standing, character and reputation, physical and personal

injuries and further seeks attorney’s fees and costs and prejudgment interest.

               43) That the defendant’s actions as set forth above were undertaken

intentionally, willfully, wantonly, recklessly, maliciously and with utter disregard for the

federally protected rights of the plaintiff, and therefore plaintiff is entitled to recover punitive

damages from the defendant.




                                                 6
       4:11-cv-01505-TLW         Date Filed 06/20/11      Entry Number 1        Page 7 of 9




                             FOR A SECOND CAUSE OF ACTION:
                                 VIOLATION OF THE FMLA
                                   (29 U.S.C. §§ 2601 – 2654)

               44) That plaintiff hereby repeats and realleges each and every allegation

contained in Paragraphs 1 through 43 hereinabove as fully as if set forth verbatim.

               45) That pursuant to the Family and Medical Leave Act of 1993 ("FMLA"), plaintiff

had been employed with defendant for over 12 months, had provided over 1,250 hours of service

to defendant during the 12 months prior to her leave and was otherwise employed at a work site

where 50 or more employees are employed by defendant within 75 miles of the work site.

Therefore, plaintiff is an “eligible” and covered employee as defined by the Act.

               46) That defendant is engaged in commerce and/or an industry or activity

effecting commerce and employs 50 or more employees each working day during each of 20 or

more work weeks in the current or preceding calendar year. As such, defendant is a covered

employer as defined by the Act and the parties herein are covered by and subject to said Act.

               47) That plaintiff performed her job duties with defendant in an above-

satisfactory fashion and in a manner that met the defendant’s reasonable expectations.

               48) That as alleged above, plaintiff suffered from a serious health condition as

defined by the FMLA, in that she suffered from diabetes; she was taken out of work several

times for extended periods of time; she repeatedly saw her physicians before, during and after

her leave; she was prescribed medications; and her conditions were chronic.

               49) That plaintiff exercised her rights under the FMLA by requesting and taking

FMLA leave and/or by taking leave that was covered or should have been covered by the

FMLA.




                                                 7
       4:11-cv-01505-TLW         Date Filed 06/20/11       Entry Number 1      Page 8 of 9




               50) That defendant fired plaintiff without warning, notice or cause and for false

reasons, all because plaintiff exercised her rights under the FMLA by requesting and taking

FMLA leave.

               51) That as such, the defendant has violated the FMLA.

               52) That as a result of defendant’s actions as set forth above, plaintiff has

suffered damages in the form of lost back and future wages, income and benefits, expenses

associated with finding other work, economic injury, attorney’s fees and costs and prejudgment

interest.

               53) That moreover, defendant’s actions as set forth above were undertaken in a

willful, reckless, bad faith, intentional and wanton manner and in utter disregard for plaintiff’s

rights and, therefore, plaintiff is entitled to recover liquidated damages from defendant.

Furthermore, the defendant knew or showed reckless disregard for whether its conduct was

prohibited by the FMLA.

                WHEREFORE, plaintiff prays for the following relief against the defendant:

                      (a) As to the plaintiff’s First Cause of Action, for such an amount of actual

and special damages as the trier of fact may find (including lost back and future wages, income

and benefits, expenses associated with finding other work, severe psychological harm,

emotional distress, pain and suffering, loss of enjoyment of life, anxiety, depression,

inconvenience, mental anguish, embarrassment, humiliation, loss of professional standing,

character and reputation, physical and personal injuries), punitive damages, prejudgment

interest, the costs and disbursements of this action, including reasonable attorney’s fees and for

such other and further relief as the court deems just and proper;

                  (b) As to plaintiff’s Second Cause of Action, for such an amount of actual and

special damages as the trier of fact may find, (including lost back and future wages, income and

                                                 8
       4:11-cv-01505-TLW          Date Filed 06/20/11      Entry Number 1        Page 9 of 9




benefits, expenses associated with finding other employment and economic injury), liquidated

damages, prejudgment interest, the costs and disbursements of this action, including reasonable

attorney’s fees, and for such other and further relief as the court deems just and proper.

                                                       HITCHCOCK & POTTS

                                                       By: s/A. Christopher Potts
                                                       Federal ID No.: 5517
                                                       31 Broad Street (P.O. Box 1113)
                                                       Charleston, SC 29401 (29402)
                                                       Telephone: (843) 577-5000
                                                       Fax: (843) 722-8512
                                                       E-Mail: hitchp@bellsouth.net
                                                       Attorneys for the Plaintiff

       Charleston, South Carolina
       June 20, 2011




                                                  9
